Case 01-01139-AMC   Doc 22732-6   Filed 08/08/09   Page 1 of 4




                    EXHIBIT F
 Case 01-01139-AMC             Doc 22732-6          Filed 08/08/09      Page 2 of 4




                                  STROOCK


                                                                      By E-Mail and Mail


February 27, 2006                                                           Lewis Krger
                                                               Direct Dial 212-806-5430
                                                               Direct Fax 212-806-6006
                                                                   LKrger§stroock.com
Janet S. Baer, Esq.
Kirkland & Ells LLP
200 East Randolph Drive
Chicago, IL 60601

Re: W. R. Grace & Co., et a1.

Dear Jan:

This letter confims that in connection with the agreement of the Offcial Committee of
Unsecured Creditors (the "Creditors' Commttee") to continue to be a Plan Proponent
with the Debtors and the Equity Committee of the Amended Joint Plan of
Reorganiation fied with the Banptcy Court and dated Januar 13, 2005, as such
Plan may be amended from time to time with the prior wrtten consent of the
Creditors' Committee (the "Joint Plan"), the Debtors agree to further amend the Joint
Plan to modify the treatment of the Class of Genera Unsecured Creditors to provide
that commencing January 1, 2006 the current 6.09% fied, compounded quarerly,
post-petition interest rate accruing for the Holders of the Debtors' pre-petition bank
credit facilities shal change to a floatig Adjusted Base Rate, compounded quarterly,
and the Debtors and the Creditors' Committee agree that the Creditors' Commttee has
the right to withdraw as a Plan Proponent of the Joint Plan on the occurrence of any of
the following circumstances:


1. Faiure of the Court to approve the Disclosure Statement incorporatig the Joint
    Plan on or before December 31,2006;

2. Determation by the Court (Bankptcy or District) that the Joint Plan is not
   confrmable together with the faiure to fie an amended Joint Plan with 60 days;

3. Determnation by the Court (Bankptcy or Distrct) that W. R. Grace & Co, W.
    R. Grace-Conn., or the Debtors are insolvent;

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              STROOCK " STROOCK 1f LAVAN LLl . N¡¡W YORK. LOS ANGELES. MIAMI
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  Case 01-01139-AMC                 Doc 22732-6           Filed 08/08/09         Page 3 of 4




 Janet S. Baer, Esq.
 February 27, 2006
 Page 2



 4. Termnation of the Debtors' exclusive period;

 5. Withdrwal of the Joint Plan by the Plan Proponents and together with the failure
      of the Plan Proponents to fie a new Joint Plan within 60 days thereafter; and

 6. Faiure of    the
                       Joint Plan to become effective on or before February 28,2007.

 It is understood that the term "Adjusted Base Rate" ("ABR") shall be the greater from
 time to time of (1) the Prime Rate as published by JPMorgan Chase, or (2) the Federal
 Funds Effective Rate plus 0.5% points, compounded quarterly on the first of Apri, July,
 October and   January.

 It is also understood that in the event that the Creditors' Conuittee withdraws as a Plan
 Proponent, the Debtors wil no longer be bound by the agreements reached as of the
 date hereof with the Creditors' Commttee with respect to interest rates or any of the
 other provisions of the Joint Plan agreed to among the parties.

 If this letter accurately states the parties' agreement in this regard, please sign this letter
 on the signature block provided below and forward the letter back to me.

 Please inform us promptly if this letter does not accurately reflect the parties' agreement.




~
 Sincerely,



Lewis Kruger



Agreed To:



By:
          Janet S. Baer, Esq.
          Kirkland & Ells


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   Case 01-01139-AMC                Doc 22732-6      Filed 08/08/09        Page 4 of 4




  Janet S. Baer, Esq.
  February 27, 2006
  Page 3




           Counsel to the Debtors
           W.R. Grace & Co., stsl.




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